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                      Exhibit A
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1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    STEVEN E. GREER, M.D.,

4                      Plaintiff,

5                 v.                                 15 Civ. 6119 (AJN)(JLC)

6    DENNIS MEHIEL; ROBERT SERPICO;
     THE BATTERY PARK CITY
7    AUTHORITY; HOWARD MILSTEIN;
     STEVEN ROSSI; JANET MARTIN;
8    MILFORD MANAGEMENT, a New York
     Corporation; and MARINERS COVE
9    SITE B ASSOCIATES,

10                     Defendants.

11   ------------------------------x
                                                     New York, N.Y.
12                                                   March 21, 2017
                                                     4:35 p.m.
13
     Before:
14
                                HON. JAMES L. COTT,
15
                                                     Magistrate Judge
16
                                     APPEARANCES
17
     STEVEN E. GREER, Plaintiff Pro Se
18
     SHER TREMONTE LLP
19        Attorneys for Defendants Robert Serpico and
          The Battery Park City Authority
20   BY: MICHAEL TREMONTE
          JUSTIN J. GUNNELL
21
     ROSENBERG & ESTIS
22        Attorneys for Defendants Howard Milstein, Steven Rossi,
          Janet Martin, Milford Management, and
23        Mariners Cove Site B Associates
     BY: DEBORAH E. RIEGEL
24        ISAAC TILTON

25

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1    the real estate defendants came on board, so -- in my second

2    set of initial disclosures I absolutely provide all of the

3    rationale for damages.

4               THE COURT:    It's not just a question of rationale,

5    though.    It's a question of what documents, if any, do you have

6    in your possession that back up your rationale, so to speak?

7               MR. GREER:    In that rationale it clearly explains that

8    IRS, tax, revenue, none of that is relevant whatsoever in the

9    valuation of my company.       That's not how you value an

10   early-stage startup.      I've done this in Wall Street.

11              THE COURT:    That's your opinion about that.        I don't

12   think your opinion gets us to carry the day and you get to

13   preempt what someone else wants to choose to do as far as how

14   to valuate a company is concerned.         Then you can have an

15   argument about that down the road.         That's not a basis to

16   withhold documents to the extent they exist.

17              MR. GREER:    Except I specifically worded the damages

18   so as to not relate to revenue or income whatsoever.            I am not

19   claiming any reduction in revenue or income.

20              THE COURT:    Let's talk about that because I need to

21   understand what your damages claims are going to be going

22   forward because that determines what the scope of discovery

23   related to that should be.       For example, I've had many cases

24   where a plaintiff, in a variety of contexts, let's take

25   employment discrimination for one, decides that they do not

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1    want to have to open their medical records to the employer and,

2    therefore, waives any right to seek emotional distress damages

3    in the case, for example, and, therefore, that no longer

4    necessitates any discovery related to it.

5               With respect to the claim for damages to your website,

6    what, if any, are you claiming?        If you get to a trial in this

7    case and there is a verdict form that is going to be submitted

8    to the jury, will they be asked, from your perspective, to

9    award you as damages, and if it's a category in which you think

10   your business, if I can call it that, was harmed to a certain

11   amount of money, then the defendants have the right during the

12   discovery process to probe that claim on your part so that they

13   have a way to defend themselves.

14              MR. GREER:    It's detailed in the initial disclosures.

15   The valuation is based on the output of my content, the

16   stories, and I've shown them the decrease in output since I've

17   been tied up in litigation, been forced out of New York.                So

18   BatteryPark.TV stories have plummeted, my number of interviews

19   with doctors and so forth for the Healthcare Channel over the

20   last two years has gone down.

21              My evidence is output of content, distraction from

22   time off the job.

23              But the valuation of an early stage company, and I

24   give several comparables of other media companies like it, most

25   of them are losing tens of millions of dollars.           Revenue and

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1    BatteryPark.TV or as it relates to the Healthcare Channel.com,

2    either category?

3               MR. GREER:    The only thing would be my company bank

4    statements.

5               THE COURT:    I thought you said your bank statements

6    are intermingled with your own personal bank statements.

7               MR. GREER:    Not inappropriately intermingled so to

8    make the LLC invalid.       The same expenses overlap.      The

9    apartment I live in is also the rent.         That's just one example.

10   To show -- I would have to redact a lot of them, which I don't

11   have the time to or ability to do so.

12              THE COURT:    Dr. Greer, you're alleging that you've

13   incurred damages between $7 million and $100 million due to

14   lost value of these companies, right?

15              MR. GREER:    Yes.

16              THE COURT:    What is the basis for that allegation?

17              MR. GREER:    It's in the initial disclosures.         It's

18   based on comparable sales, it's based on IPOs and sale values

19   of other media companies that resembled mine and which went for

20   hundreds of millions, so I'm being conservative.

21              THE COURT:    Did you ever have any correspondence with

22   anyone about valuing your company?

23              MR. GREER:    Yes.   Over the years, since I started the

24   Healthcare Channel 10 years ago, I have met with every major

25   media company you can imagine, so I've had numerous discussions

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1    documentation that you need beyond what you have, you'll tell

2    me after you further discussed it with him.          That's what we are

3    doing on this subject.

4               MR. TREMONTE:     Battery Park Healthcare.      There, can we

5    have the revenue over time?         That's a different business model.

6               THE COURT:    The revenue over time.

7               MR. GREER:    We just discussed this.

8               MR. TREMONTE:     Mr. Greer says --

9               THE COURT:    In what form, based on the conversation we

10   have had in colloquy, do you think there are documents that

11   memorialize its revenue over time?         Because I didn't hear

12   anything.

13              MR. TREMONTE:     Yes.    He said they are subscribers.

14   They are individual subscribers who pay a fee.           If that's the

15   case, there must be documentation of the payment and receipt of

16   those fees, every fee, by every subscriber.

17              THE COURT:    That strikes me as very burdensome.

18              MR. GREER:    It's also irrelevant, your Honor, because

19   I said revenue has nothing to do with the valuation.

20              THE COURT:    That's your view of it.

21              MR. GREER:    I'm an expert.     I did this banking at the

22   highest level and my models are still used by Wall Street

23   executives now.

24              THE COURT:    I really don't think that has any

25   relevance whatsoever to a discovery issue in this case.            That's

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1    your view of this.      You can't inform what gets produced based

2    on your own view of that.       I tried to ask you this before.         I

3    really want to move along.

4               What documents, if any, exist that describe the

5    revenue that Healthcare Channel.com receives?           What documents

6    are there?     Let me ask it another way.       If I want to be a

7    subscriber, tonight, when I go home -- and I can assure you I

8    am not going to be, for the record -- but if I wanted to go

9    home and subscribe to Healthcare Channel.com tonight, what

10   would I do?     I would go online.

11              MR. GREER:    It's a high-level Wall Street.        It's not

12   some anonymous thing.       It's like large deals and Wall Street.

13              THE COURT:    How will I pay for my subscription?

14              MR. GREER:    With a large check.      With an invoice and a

15   large check.

16              THE COURT:    How do I communicate to you that I want to

17   be a subscriber?

18              MR. GREER:    It's the same way salespeople work in Wall

19   Street with clients.      They call me, I reach out to them.

20              THE COURT:    I can't go to the website?

21              MR. GREER:    No, you can't pay on the website, no.

22              THE COURT:    I can't go to Healthcare Channel.com and

23   subscribe?

24              MR. GREER:    No.   It's too big for that.      It's a

25   $10,000 subscription, your Honor.         I just revealed something.

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1               MR. TREMONTE:     That is correct, your Honor.

2               THE COURT:     And like all lawyers, you think you have

3    to have every single piece of paper in your hand before you can

4    ask him questions, and that is just a fiction.           And get over it

5    and take his deposition and ask him the kinds of questions I

6    was asking during colloquy and see where it leads.            And if it

7    leads you to the identification of actual documents that he

8    hasn't produced, then you ask him for them.          And if he refuses

9    and you meet and confer and he still refuses, then you tell me

10   and we will be back and we will have another conversation.

11              OK.    Next.

12              MS. RIEGEL:     I think what we were hoping to avoid,

13   your Honor, and I hear you loud and clear, but I think what we

14   were hoping to avoid was two depositions where we deposed

15   Dr. Greer, we get additional documents, and we go back, but I

16   hear you.

17              THE COURT:     I'm not promising anything.      I don't know

18   how any of this is going to play out and you are going to run

19   out of time because it's already March 21 and we are finished

20   with discovery on April 14 and I've told you about 10 times I'm

21   not moving that date, even if there is an act of God that

22   intervenes.      You are going to have to finish what you are doing

23   between now and then.       For all the many obvious reasons you can

24   imagine why I'm holding you all.        It's in your interests.         The

25   longer we keep this going in discovery, the more fights you

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1    going to rule on something that's not in front of me.            You've

2    made a discovery request.       You've alleged $50,000 in damages.

3    They want all documents that you have related to that.            You're

4    supposed to produce it within the discovery period.            We have

5    said it before and we will say it again.          Anything you don't

6    produce in the discovery period you can't use.           So you better

7    figure out how to produce it to get to $50,000.

8               MR. GREER:    I'm in the middle of doing depositions.

9    Between now and April 14, I will attempt to supplement what

10   I've turned over.

11              THE COURT:    Great.    Next category.

12              MR. GREER:    She mentioned other damages.

13              MS. RIEGEL:    Next category of damage relates to the

14   claim for mental distress, anxiety and depression.            We have

15   asked Dr. Greer for medical records or a HIPAA compliant

16   authorization with respect to the medical claims.           He has not

17   provided either.

18              THE COURT:    If you put that in play, you waive any

19   privacy rights you otherwise would have related to that.                This

20   is what I was talking about earlier.         If you don't want them to

21   look into that, you can waive your right to seek damages on

22   that basis.

23              MR. GREER:    But I've answered it and they don't exist.

24   I'm a doctor.     I treat myself for most things.        I have not

25   sought any psychiatric, psychological therapy for mental

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1     conduct by the defendants?

2                MR. GREER:    In my initial disclosures I explained

3     that's valued by what other medical practices are worth and so

4     forth.    No.   I have no documents.

5                MS. RIEGEL:    Judge, Dr. Greer's response to the

6     initial disclosure says that his claim for $20 million is based

7     on his medical practice earnings or earning potential as

8     compared to other doctors in the area.        It goes back to -- I

9     know your Honor said tax returns should be the measure of last

10    resort.    But if he's talking about damages to his earnings as a

11    doctor or his potential earnings as a doctor, what he has

12    earned as a medical professional is relevant to his damage

13    claim.

14               THE COURT:    Take his deposition first, inquire on the

15    subject.    If you're unsatisfied and you believe you are

16    entitled to more, including his tax returns, review the case

17    law on the subject, which you will find, as you may well know

18    already, suggests that you don't, as a first matter, get

19    someone's tax returns.      You only get them if they are uniquely

20    the source of information you cannot get from any other source,

21    including the deposition of the witness.

22               I am reserving on that question until after the

23    deposition.     I think this whole issue about reputational

24    damages is amorphous enough that you need to explore it, pin

25    him down to sworn testimony, and then make a judgment that you

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1     Dawson, Milstein, Soriero, Harvey, Ford.

2               THE COURT:    And Rossi.    That's eight.    Plus two is

3     then.    You have 10.

4               MR. GREER:    I can't count.

5               THE COURT:    You get 10, unless you want to substitute

6     the person you just said for someone else.

7               MR. GREER:    Let's see if I want to substitute.        Can we

8     substitute Gwen Dawson for Karl Koenig.

9               THE COURT:    Now you don't have to talk to Ms. Dawson.

10              Mr. Koenig.

11              MR. GREER:    Yes, Karl Koenig.

12              THE COURT:    Karl Koenig.    What is his position?

13              MR. GREER:    It's high up.     They have so many names.     I

14    don't know.

15              MR. TREMONTE:     He wasn't on our radar screen, your

16    Honor.   We will have to confer with him.

17              THE COURT:    I know.    Sometime between now and April 14

18    you'll work it out.

19              MR. TREMONTE:     Yes, your Honor.

20              THE COURT:    I don't think I got an answer about when

21    Dr. Greer's deposition is going to be.

22              MR. TREMONTE:     Dr. Greer proposed that final week.

23    That's amenable to us.      The only question I have is I

24    anticipate, your Honor, we will, of course, do our level best,

25    especially in light of the Court's comments today, to keep our

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1     postdeposition document demands to a rational minimum, but I

2     expect there will be some.      If we make them that last week,

3     Dr. Greer will almost certainly need -- he will probably need

4     more time to produce.      I assume that that's OK with the Court.

5     But his production --

6               THE COURT:    In terms of the April 14 deadline?

7               MR. TREMONTE:     For discovery.

8               THE COURT:    If you make any postdeposition document

9     requests before the 14th, you are entitled to do that and

10    Dr. Greer, obviously, has to respond to them to you.          And then

11    if there is any issue that flows from that, I'm sure I'll hear

12    about it, keeping in mind that I have a jury trial beginning

13    April 24 for two weeks, so you may not hear from me for a while

14    because, guess what, I work on other cases.         Did you know that,

15    Dr. Greer?    Are you aware that I'm not a one-case guy?         Not

16    just your case.

17              To that end, by the way, I think someone at the back

18    table sent at 12:30 today a request to have phones brought in,

19    and I can't turn on a dime like that.        If you need that sort of

20    relief, you have to ask me the day before.

21              MS. RIEGEL:    We apologize, your Honor.       It was the

22    court reporter and she had a child care issue and she was a

23    little exercised because she didn't realize she wouldn't be

24    able to bring in her phone.

25              THE COURT:    Did it get worked out?

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